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                IN THE UNITED STATES DISTRICT COURT
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              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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13    MARINA BORAWICK,                         Case No. CV 17-2036 MRW
14                       Plaintiff,            COURT’S CONCLUDING JURY
                                               INSTRUCTIONS
15                  v.
16    CITY OF LOS ANGELES, et al.
17                       Defendants.
18
19
           The Court gave the following closing instructions to the jury at the trial in
20
     this matter.
21
22
23   Dated: March 31, 2023                  ___________________________________
                                            HON. MICHAEL R. WILNER
24                                          UNITED STATES MAGISTRATE JUDGE
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1                              COURT’S INSTRUCTION # 1.
2                                      DUTY OF JURY
3
           Members of the Jury: Now that you have heard all of the evidence, it is my
4
     duty to instruct you as to the law of the case.
5
6          A copy of these instructions will be sent with you to the jury room when you
7    deliberate.
8
           You must not infer from these instructions or from anything I may say or do
9
     as indicating that I have an opinion regarding the evidence or what your verdict
10
     should be.
11
12         It is your duty to find the facts from all the evidence in the case. To those
13   facts you will apply the law as I give it to you. You must follow the law as I give
14   it to you whether you agree with it or not. And you must not be influenced by any
15   personal likes or dislikes, opinions, prejudices, or sympathy. That means that you
16   must decide the case solely on the evidence before you. You will recall that you
17   took an oath to do so.
18
19         Please do not read into these instructions or anything that I may say or do or

20   have said or done that I have an opinion regarding the evidence or what your

21   verdict should be.

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1                                 COURT’S INSTRUCTION # 2.
2                                   DUTY TO DELIBERATE
3
4          Before you begin your deliberations, elect one member of the jury as your
5    presiding juror. The presiding juror will preside over the deliberations and serve as
6    the spokesperson for the jury in court.
7
8          You must diligently strive to reach agreement with all of the other jurors if
9    you can do so. Your verdict must be unanimous.
10
11         Each of you must decide the case for yourself. You should do so only after
12   you have considered all of the evidence, discussed it fully with the other jurors,
13   and listened to their views.
14
15         It is important that you attempt to reach a unanimous verdict, but only if
16   each of you can do so after having made your own conscientious decision. Do not
17   be unwilling to change your opinion if the discussion persuades you that you
18   should. But do not come to a decision simply because other jurors think it is right,
19   and do not change an honest belief about the weight and effect of the evidence
20   simply to reach a verdict.
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1                              COURT’S INSTRUCTION # 3.
2                                CONDUCT OF THE JURY
3
4          Because you must base your verdict only on the evidence received in the
5    case and on these instructions, I remind you that you must not be exposed to any
6    other information about the case or to the issues it involves. Except for discussing
7    the case with your fellow jurors during your deliberations:
8
9          Do not communicate with anyone in any way and do not let anyone
10         else communicate with you in any way about the merits of the case or
11         anything to do with it. Do not read, watch or listen to any news or
12         media accounts or commentary about the case or anything to do with
13         it. Do not do any research. Do not make any investigation or in any
14         other way try to learn about the case on your own. Do not visit or
15         view any place discussed in this case. Do not go online or on social
16         media to get information related to this case. Do not do any research
17         about the law or the people involved – including the parties, the
18         witnesses or the lawyers – until you have been excused as jurors.
19
20         Remember, you have taken an oath to follow the rules, and it is very
21         important that you follow these rules. A juror who violates these
22         restrictions jeopardizes the fairness of these proceedings, and a
23         mistrial could result that would require the entire trial process to start
24         over. If any juror is exposed to any outside information, please notify
25         the court immediately.
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1                              COURT’S INSTRUCTION # 4.
2                                  SECTION 1983 CLAIM
3
4          The plaintiff, Ms. Borawick, brings her claim under a federal statute,
5    42 U.S.C. § 1983. That statute provides that any person or persons who, under
6    color of state law, deprives another of any rights, privileges, or immunities secured
7    by the Constitution or laws of the United States shall be liable to the injured party.
8
9          In order to prevail on her Section 1983 claim against Defendants Correa and
10   Reyes, Plaintiff must prove by a preponderance of the evidence that:
11                1.     Defendant acted under color of state law; and
12                2.     The acts of Defendant deprived Plaintiff of her particular rights
13                       under the United States Constitution as explained in later
14                       instructions.
15         A person acts “under color of state law” when the person acts or purports to
16   act in the performance of official duties under any state, county, or municipal law,
17   ordinance or regulation. The parties have stipulated that both Officers Correa and
18   Reyes acted under color of state law.
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1                              COURT’S INSTRUCTION # 5.
2                                    EXCESSIVE FORCE
3
4          In general, a seizure of a person is unreasonable under the Fourth
5    Amendment if a police officer uses excessive force in making a lawful arrest.
6    Therefore, to establish a constitutional violation in this case under Section 1983,
7    Plaintiff must prove by a preponderance of the evidence that the officers used
8    excessive force.
9
10         Under the Fourth Amendment to the U.S. Constitution, a police officer may
11   use only such force as is “objectively reasonable” under all of the circumstances.
12   You must judge the reasonableness of a particular use of force from the perspective
13   of a reasonable officer on the scene, and not with the 20/20 vision of hindsight.
14   Although the facts known to the officer at the time are relevant to your inquiry, an
15   officer’s subjective intent or motive is not relevant to your inquiry.
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1                               COURT’S INSTRUCTION # 6.
2                         TOTALITY OF THE CIRCUMSTANCES
3
4           Plaintiff Borawick claims that Defendants Correa and Reyes used excessive
5    or unreasonable force against her on three separate occasions:
6                  (1)   During the initial handcuffing at the scene of the arrest;
7                  (2)   For the period that Plaintiff was in the police car until she was
8                        uncuffed at LAPD Pacific Station; and
9                  (3)   During Plaintiff’s transportation to Santa Monica Police
10                       Station.
11          For each component of these claims, you may consider the following factors
12   in determining whether the use of force was unreasonable:
13
14          1.     The nature of the crime or other circumstances known to the officers
15   at the time force was applied;
16          2.     Whether Plaintiff posed an immediate threat to the safety of the
17   officers or to others;
18          3.     The type and amount of force used;
19          4.     The availability of alternative methods to take Plaintiff into custody;
20          5.     Whether a reasonable officer would have known that the force used
21   caused unnecessary or unusually severe pain;
22          6.     Whether a reasonable officer, having been alerted to Plaintiff’s
23   disability and medical history, would have employed alternative means of
24   restraining her;
25          7.     Whether Plaintiff was actively resisting arrest or attempting to evade
26   arrest by flight;
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1          8.      The amount of time Defendants had to determine the type and amount
2    of force that reasonably appeared necessary, and any changing circumstances
3    during that period;
4          9.      The relationship between the need for the use of force and amount of
5    force used;
6          10.     The extent of Plaintiff’s injury; and
7          11.     Any effort made by the officers to limit the use of force;
8
9          Plaintiff must show that the officers’ use of force was “objectively”
10   unreasonable; Plaintiff is not required to show that the officers were “subjectively”
11   aware that their use of force was unreasonable.
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1                               COURT’S INSTRUCTION # 7.
2                          ADA / REHABILIATION ACT CLAIM
3
4          Plaintiff can establish a violation of the Americans with Disabilities Act or
5    the Rehabilitation Act by showing that one or both officers failed to provide
6    Plaintiff with a reasonable accommodation for any of her disabilities (that is,
7    her frozen shoulder and the arterial conditions for which she previously had
8    bypasses).
9
10         In order to prove this claim, Plaintiff must prove by a preponderance of the
11   evidence that:
12         1.     Plaintiff is a qualified individual with a disability. You should
13                consider this element satisfied. It is undisputed that Plaintiff is a
14                qualified individual and had a disability at the time of the arrest
15                because of her frozen shoulder and because of her bypasses;
16         2.     The officer or officers failed to reasonably accommodate Plaintiff’s
17                disability; and
18         3.     This failure to reasonably accommodate caused Plaintiff undue pain
19                or greater injury than it would a person who did not have her
20                disability.
21
22         Plaintiff claims that Defendants Correa and Reyes failed to reasonably
23   accommodate her on three separate occasions:
24                (1)    During the initial handcuffing at the scene of the arrest;
25                (2)    For the period that Plaintiff was in the police car until she was
26                       uncuffed at LAPD Pacific Station; and
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1                 (3)   During Plaintiff’s transportation to Santa Monica Police
2                       Station.
3           You should give separate consideration to each of these claims.
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1                              COURT’S INSTRUCTION # 8.
2                               TEMPORARY DISABILITY
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4           A person is considered to be “disabled” under the ADA and Rehabilitation
5     Act even if a condition is temporary.
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1                                COURT’S INSTRUCTION # 9.
2                             BANE ACT – EXCESSIVE FORCE
3                            (CALIFORNIA CIVIL CODE § 52.1)
4
            Plaintiff claims that Defendants Correa and Reyes violated her rights under
5
      the state’s Bane Act by using excessive force against her. To establish this claim,
6
      Plaintiff must prove the following:
7
8
            1.     By threats, intimidation, or coercion, Defendants interfered with, or
9
                   attempted to interfere with, Plaintiff’s exercise of her right to be free
10
                   from excessive force.
11
                   You should consider this element satisfied if you return a verdict in
12
                   favor of Plaintiff on her excessive force claim under Section 1983;
13
            2.     Defendants acted intentionally or with a reckless disregard for
14
                   Plaintiff’s rights;
15
            3.     Plaintiff was harmed; and
16
            4.     Defendants’ conduct was a substantial factor in causing Plaintiff’s
17
                   harm.
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1                               COURT’S INSTRUCTION # 10.
2                          BANE ACT – RETALIATORY ARREST
3                              (CALIFORNIA CIVIL CODE § 52.1)
4
5           Plaintiff also claims that Defendants Correa and Reyes violated her rights
6     under the state’s Bane Act by retaliating against her. To establish this claim,
7     Plaintiff must prove the following
8
9           1.     Defendants Correa and Reyes interfered with, or attempted to
10                 interfere with, Plaintiff’s right to free speech by arresting her in
11                 retaliation for statements Plaintiff made to the officers during the
12                 incident.
13          2.     Defendants’ actions were by means of threats, intimidation, or
14                 coercion;
15          3.     Defendants acted intentionally or with a reckless disregard for
16                 Plaintiff’s rights; and
17          4.     Defendants’ conduct was a substantial factor in causing Plaintiff to
18                 suffer harm.
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1                               COURT’S INSTRUCTION # 11.
2                                             WARRANT
3
4           In this civil action, Plaintiff does not challenge that there was a legal basis
5     to arrest her. At the time of the incident, there was a warrant which would have
6     provided a basis to arrest Plaintiff.
7           However, the parties dispute whether the decision to arrest Plaintiff that day
8     was retaliatory, and thus unlawful.
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1                              COURT’S INSTRUCTION # 12.
2                                          BATTERY
3
4           Plaintiff claims that Defendants Reyes and Correa harmed her by using
5     unreasonable force to arrest her. To establish this claim under state law, Plaintiff
6     must prove all of the following:
7
8           1.     Defendants intentionally touched Plaintiff;
9           2.     Defendants used unreasonable force to arrest Plaintiff;
10          3.     Plaintiff did not consent to the use of that force;
11          4.     Plaintiff was harmed; and
12          5.     Defendants’ use of unreasonable force was a substantial factor in
13                 causing Plaintiff’s harm.
14
15          In deciding whether Officers Correa and Reyes used unreasonable force, you
16    should consider the totality of the circumstances as I’ve previously listed them in
17    Instruction # 6.
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1                                COURT’S INSTRUCTION # 13.
2                                          NEGLIGENCE
3
4           A law enforcement officer may use reasonable force to arrest or detain a
5     person when the officer has reasonable cause to believe that that person has
6     committed a crime. However, the officer may use only that degree of force
7     necessary to arrest or detain the person.
8
9           Plaintiff claims that Defendants Correa and Reyes were negligent in using
10    unreasonable force to arrest or detain her. Negligence is the failure to use
11    reasonable care to prevent harm to oneself or to others. To establish this claim,
12    Plaintiff must prove all of the following:
13
14          1.     Defendants used force to arrest Plaintiff;
15          2.     The amount of force used by Defendants was unreasonable;
16          3.     Plaintiff was harmed; and
17          4.     Defendants’ use of force was a substantial factor in causing Plaintiff’s
18                 harm.
19
20          Plaintiff claims that Defendants Correa and Reyes were negligent on three
21    separate occasions:
22                 (1)      During the initial handcuffing at the scene of the arrest;
23                 (2)      For the period that Plaintiff was in the police car until she was
24                          uncuffed at LAPD Pacific Station; and
25                 (3)      During Plaintiff’s transportation to Santa Monica Police
26                          Station.
27          You should give separate consideration to each of these claims.
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2           In deciding whether Officers Correa and Reyes were negligent, you must
3     consider the totality of the circumstances as I’ve previously listed them in
4     Instruction # 6.
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1                             COURT’S INSTRUCTION # 14.
2                                COMPARATIVE FAULT
3
4           Defendants claim that Plaintiff’s own negligence contributed to her harm.
5     To succeed on this claim, Defendants must prove both of the following:
6
7           1.    Plaintiff was negligent; and
8           2.    Plaintiff’s negligence was a substantial factor in causing her harm.
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1                              COURT’S INSTRUCTION # 15.
2                                        CAUSATION
3
4           A “substantial factor in causing harm” is a factor that a reasonable person
5     would consider to have contributed to the harm. It must be more than a remote or
6     trivial factor. It does not have to be the only cause of the harm.
7           Conduct is not a substantial factor in causing harm if the same harm would
8     have occurred without that conduct.
9
10          A person’s violation of law may combine with another factor to cause harm.
11    If you find that any Defendant’s violation of law was a substantial factor in causing
12    the harm to Plaintiff, then that Defendant is responsible for the harm. Defendants
13    cannot avoid responsibility just because some other person, condition, or event was
14    also a substantial factor in causing the harm.
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1                                COURT’S INSTRUCTION # 16.
2         SEPARATE CONSIDERATION OF MUTIPLE CAUSES OF ACTION –
3                                  MULTIPLE DEFENDANTS
4
5             Plaintiff has brought several civil causes of action against the individual
6     officers. The number of claims that Plaintiff is pursuing is not evidence that any of
7     the defendants is liable to Plaintiff on any cause of action. The number of claims
8     in the case should not influence your decision in any way.
9
10            You must decide the liability of each defendant separately on each cause of
11    action. Your verdict on any particular cause of action should not control your
12    verdict on any other claim or for any other party unless I instruct you otherwise.
13
14            The City of Los Angeles is a party to this action. However, there is no need
15    for you to evaluate the liability of the City or the Los Angeles Police Department
16    during your deliberations. The only issues for you to consider are whether the
17    individual officers are liable to Ms. Borawick on any of the causes of action in the
18    case.
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1                                COURT’S INSTRUCTION # 17.
2                         MALICIOUS OR OPPRESSIVE CONDUCT
3
4           For Plaintiff’s excessive force claim under Section 1983, if you conclude
5     that either Defendant is liable, Plaintiff has the burden of proving by a
6     preponderance of the evidence whether the conduct was malicious, oppressive, or
7     in reckless disregard of her rights.
8           For the remainder of Plaintiff’s state law claims, if you conclude that either
9     Defendant is liable on any claim, Plaintiff has the burden of proving by clear and
10    convincing evidence whether the conduct was malicious, oppressive, or in reckless
11    disregard of her rights.
12
13          Conduct is malicious if it is accompanied by ill will, or spite, or if it is for
14    the purpose of injuring the plaintiff.
15          Conduct is in reckless disregard of the plaintiff’s rights if, under the
16    circumstances, it reflects complete indifference to the plaintiff’s safety or rights, or
17    if the defendant acts in the face of a perceived risk that its actions will violate the
18    plaintiff’s rights under federal law.
19          An act is oppressive if the defendant injures or damages or otherwise
20    violates the rights of the plaintiff with unnecessary harshness or severity, such as
21    by misusing or abusing authority or power, or by taking advantage of some
22    weakness, disability, or misfortune of the plaintiff.
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1                              COURT’S INSTRUCTION # 18.
2               BURDEN OF PROOF – PREPONDERENCE OF EVIDENCE
3
4           When a party has the burden of proving any claim or defense by a
5     preponderance of the evidence, it means you must be persuaded by the evidence
6     that the claim is more probably true than not true.
7
8           You should base your decision on all of the evidence, regardless of which
9     party presented it.
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1                               COURT’S INSTRUCTION # 19.
2            BURDEN OF PROOF – CLEAR AND CONVINCING EVIDENCE
3
4           When a party has the burden of proving a claim by clear and convincing
5     evidence, it means that the party must present evidence that leaves you with a
6     firm belief or conviction that it is highly probable that the factual contentions of
7     the claim is true. This is a higher standard of proof than proof by a preponderance
8     of the evidence, but it does not require proof beyond a reasonable doubt.
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1                             COURT’S INSTRUCTION # 20.
2                                  WHAT IS EVIDENCE
3
4           The evidence you are to consider in deciding what the facts are consists of:
5           1.    the sworn testimony of any witness;
6           2.    the exhibits that are received into evidence;
7           3.    any facts to which the lawyers have agreed; and
8           4.    any facts that I may instruct you to accept as proved.
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1                              COURT’S INSTRUCTION # 21.
2                                 WHAT IS NOT EVIDENCE
3
4           In reaching your verdict, you may consider only the testimony and exhibits
5     received into evidence. Certain things are not evidence, and you may not consider
6     them in deciding what the facts are. I will list them for you:
7           (1) Arguments and statements by lawyers are not evidence. The lawyers are
8               not witnesses. What they may say in their opening statements, closing
9               arguments, and at other times is intended to help you interpret the
10              evidence, but it is not evidence. If the facts as you remember them differ
11              from the way the lawyers have stated them, your memory of them
12              controls.
13          (2) Questions and objections by lawyers are not evidence. Attorneys have a
14              duty to their clients to object when they believe a question is improper
15              under the rules of evidence. You should not be influenced by the
16              objection or by the court’s ruling on it.
17          (3) Testimony that is excluded or stricken, or that you are instructed to
18              disregard, is not evidence and must not be considered. In addition, some
19              evidence may be received only for a limited purpose; when I instruct you
20              to consider certain evidence only for a limited purpose, you must do so
21              and you may not consider that evidence for any other purpose.
22          (4) Anything you may see or hear when the court was not in session is not
23              evidence. You are to decide the case solely on the evidence received at
24              the trial.
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1                                 COURT’S INSTRUCTION # 22.
2                                 CREDIBILITY OF WITNESSES
3
4            In deciding the facts in this case, you may have to decide which testimony to
5     believe and which testimony not to believe. You may believe everything a witness
6     says, or part of it, or none of it.
7            In considering the testimony of any witness, you may take into account:
8            (1)    the opportunity and ability of the witness to see or hear or know the
9                   things testified to;
10           (2)    the witness’s memory;
11           (3)    the witness’s manner while testifying;
12           (4)    the witness’s interest in the outcome of the case, if any;
13           (5)    the witness’s bias or prejudice, if any;
14           (6)    whether other evidence contradicted the witness’s testimony;
15           (7)    the reasonableness of the witness’s testimony in light of all the
16                  evidence; and
17           (8)    any other factors that bear on believability.
18
19           Sometimes a witness may say something that is not consistent with
20    something else he or she said. Sometimes different witnesses will give different
21    versions of what happened. People often forget things or make mistakes in what
22    they remember. Also, two people may see the same event but remember it
23    differently. You may consider these differences, but do not decide that testimony
24    is untrue just because it differs from other testimony.
25           However, if you decide that a witness has deliberately testified untruthfully
26    about something important, you may choose not to believe anything that witness
27    said. On the other hand, if you think the witness testified untruthfully about some
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1     things but told the truth about others, you may accept the part you think is true and
2     ignore the rest.
3           The weight of the evidence as to a fact does not necessarily depend on the
4     number of witnesses who testify. What is important is how believable the
5     witnesses were, and how much weight you think their testimony deserves.
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1                              COURT’S INSTRUCTION # 23.
2                               OPINION OF LAY WITNESS
3
4           A witness who was not testifying as an expert may have given an opinion
5     during the trial. You may, but are not required to, accept such an opinion. You
6     may give the opinion whatever weight you think is appropriate.
7           Consider the extent of the witness’s opportunity to perceive the matters on
8     which the opinion is based, the reasons the witness gave for the opinion, and the
9     facts or information on which the witness relied in forming that opinion. You must
10    decide whether information on which the witness relied was true and accurate.
11    You may disregard all or any part of an opinion that you find unbelievable,
12    unreasonable, or unsupported by the evidence.
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1                              COURT’S INSTRUCTION # 24.
2                             OPINION OF EXPERT WITNESS
3
4           You have heard testimony from expert witnesses who testified to opinions
5     and the reasons for that person’s opinions. This opinion testimony is allowed,
6     because of the education or experience of this witness.
7           Such opinion testimony should be judged like any other testimony. You
8     may accept it or reject it, and give it as much weight as you think it deserves,
9     considering the witness’s education and experience, the reasons given for the
10    opinion, and all the other evidence in the case.
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1                              COURT’S INSTRUCTION # 25.
2                                RULING ON OBJECTIONS
3
4           There may have been times during the trial that I ordered that evidence be
5     stricken from the record and that you disregard or ignore the evidence. That means
6     that when you are deciding the case, you must not consider the evidence that I told
7     you to disregard.
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1                              COURT’S INSTRUCTION # 26.
2                            COMMUNICATION WITH COURT
3
4           If it becomes necessary during your deliberations to communicate with me,
5     you may send a note through the clerk or bailiff, signed by any one or more of you.
6     No member of the jury should ever attempt to communicate with me except by a
7     signed writing. I will not communicate with any member of the jury on anything
8     concerning the case except in writing or here in open court. If you send out a
9     question, I will consult with the lawyers before answering it, which may take some
10    time. You may continue your deliberations while waiting for the answer to any
11    question. Remember that you are not to tell anyone – including the court – how
12    the jury stands, whether in terms of vote count or otherwise, until after you have
13    reached a unanimous verdict or have been discharged.
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1                               COURT’S INSTRUCTION # 27.
2                                   RETURN OF VERDICT
3
4           A verdict form has been prepared for you. After you have reached
5     unanimous agreement on a verdict, your presiding juror should complete the
6     verdict form according to your deliberations, sign and date it, and advise the clerk
7     or bailiff that you are ready to return to the courtroom.
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